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                                                         August 27, 2024
Via ECF
The Honorable Katherine Polk Failla, U.S.D.J.
Thurgood Marshall United States Courthouse

        Re:     Securities and Exchange Commission v. Coinbase, Inc. et al., 23 Civ. 4738 (KPF)

Dear Judge Failla:

        Plaintiff Securities and Exchange Commission respectfully informs the Court of a
recent ruling denying a motion to compel in FTC v. Amazon.com, Inc., et al., 2:23-cv-00932-
JHC (Dkt. No. 180) (W.D. Wash. Aug. 22, 2024) that is relevant to the Court’s consideration
of Coinbase’s pending motion to compel in this case (see Dkt. Nos. 145-156), and that is
attached as Exhibit A hereto. In Amazon, the court denied a motion to compel the FTC to
produce, inter alia, “[i]nternal FTC documents reflecting the FTC’s interpretation over time
of” the relevant statute pursuant to which the FTC had brought the civil action. Amazon, at
1, 14. In so ruling, the court reasoned that “internal agency discussions of the agency’s
interpretation of a statute are irrelevant to questions of statutory interpretation,” id. at 5
(cleaned up), which “the Court” answers “using the tools of statutory construction” without
relying on “[i]nternal agency interpretations” because they “have no legal significance.” Id. at
6 (cleaned up). The court also reasoned that these documents are not relevant to any fair
notice defense because, since by definition defendants and those similarly situated “have no
access to an agency’s internal deliberations,” it follows that “these communications should
have no bearing upon whether the agency has given fair notice.” Id. at 9 (cleaned up). The
Amazon court’s reasoning applies with equal force here and provides further support to deny
Coinbase’s pending motion.


                                                 Respectfully submitted,

                                                 /s/ Nicholas C. Margida
                                                 Nicholas C. Margida
                                                 Counsel for Plaintiff

Cc: All counsel of record (via ECF)
